               1 MARC E. MAYER (SBN 190969); mem@msk.com
                 KARIN G. PAGNANELLI (SBN 174763); kgp@msk.com
               2 MITCHELL SILBERBERG & KNUPP LLP
                 2049 Century Park East, 18th Floor
               3 Los Angeles, CA 90067-3120
                 Telephone: (310) 312-2000
               4 Facsimile: (310) 312-3100
               5 Attorneys for Defendant
                 Activision Blizzard, Inc.
               6
               7
               8                           UNITED STATES DISTRICT COURT
               9                      SOUTHERN DISTRICT OF CALIFORNIA
               10
               11 BROOKS ENTERTAINMENT, INC.,             CASE NO. 3:21-CV-02003-TWR-MDD
               12             Plaintiff,                  [Assigned to Judge Todd W. Robinson]
               13       v.
                                                          DECLARATION OF MARC E.
               14 ACTIVISION BLIZZARD, INC. AND           MAYER IN SUPPORT OF:
                  ROCKSTAR GAMES, INC.,
               15                                         (1) MOTION TO DISMISS
                           Defendants.                    COMPLAINT UNDER RULE
               16                                         12(B)(6), AND
               17                                         (2) SPECIAL MOTION TO
                                                          STRIKE PLAINTIFF’S THIRD
               18                                         CLAIM FOR RELIEF FOR
                                                          COMMERCIAL
               19                                         APPROPRIATION OF LIKENESS
                                                          PURSUANT TO CCP § 425.16
               20
               21                                         [Notice of Motions, Memorandum of
                                                          Points and Authorities, Request For
               22                                         Judicial Notice, Declaration of James
                                                          Lodato and [Proposed] Order Filed
               23                                         Concurrently Herewith]
               24                                         Courtroom:       3A (3rd Floor)
                                                          Date:            April 20, 2022
               25                                         Time:            1:30 p.m.
               26
               27
  Mitchell     28
Silberberg &
 Knupp LLP
                                                              CASE NO. 3:21-CV-02003
                                      DECLARATION OF MARC E. MAYER
                1                       DECLARATION OF MARC E. MAYER
                2         I, Marc E. Mayer, the undersigned, hereby declare as follows:
                3         1.    I am an attorney at law, duly licensed to practice law in the State of
                4 California. I am, through my professional corporation, a partner with the law firm
                5 of Mitchell Silberberg & Knupp LLP (“MSK”), counsel of record for Defendant
                6 Activision Blizzard, Inc. (“Activision”) in this action. I submit this declaration in
                7 support of Activision’s Motion to Dismiss and Special Motion to Strike. Except as
                8 otherwise noted, I have personal knowledge of all of the following and, if called as a
                9 witness, could and would testify competently thereto.
               10         2.    Attached hereto as Exhibit 1, lodged with the Court under separate
               11 cover, is a true and correct retail copy of Activision’s Call of Duty: Infinite Warfare
               12 (the “Game”) as made available for the Microsoft Xbox platform. I obtained this
               13 retail copy from online website Amazon.com, at the following link:
               14 https://www.amazon.com/Call-Duty-Infinite-Warfare-Standard-
               15 PlayStation/dp/B01EZA0D8O?th=1.
               16         3.    Attached hereto as Exhibit 2 is a true and correct copy of the front and
               17 back cover of the packaging for the Xbox version of the Game. (The packaging is
               18 substantively the same for all other console versions.)
               19         4.    Attached hereto as Exhibit 3 are a set of screen captures from Call of
               20 Duty: Infinite Warfare. I captured each of these images using the Nvidia GeForce
               21 Experience software while playing Call of Duty: Infinite Warfare on a Windows PC.
               22         5.    Attached hereto as Exhibit 4 (and lodged with the court on a USB flash
               23 drive) is a file folder containing four video files reflecting game play from Call of
               24 Duty: Infinite Warfare. I captured each of these videos using the Nvidia GeForce
               25 Experience software while playing Call of Duty: Infinite Warfare on a Windows PC.
               26         6.    Attached hereto as Exhibit 5 is a true and correct printout of the
               27 LinkedIn account for “Shon Brooks” of “Brooks Financial & Entertainment
  Mitchell     28 Consultants Inc.,” which a member of my firm’s staff, at my direction, caused to be
Silberberg &
 Knupp LLP
                                                     2          CASE NO. 3:21-CV-02003
                                        DECLARATION OF MARC E. MAYER
                1 captured and converted to PDF from the URL https://www.linkedin.com/in/shon-
                2 brooks-47a97025/ on January 13, 2022.
                3        7.     Attached hereto as Exhibit 6 is an excerpt from a true and correct
                4 printout of the Twitter account for “Shon Brooks,” “CEO of Brooks Financial &
                5 Entertainment Consultants … ,” which a member of my firm’s staff, at my direction,
                6 caused to be captured and converted to PDF from the URL
                7 https://twitter.com/shonbrooks1 on January 13, 2022.
                8        8.     Attached hereto as Exhibit 7 is a true and correct printout of an article
                9 dated January 4, 2011 entitled “Shon Brooks Launches Interactive Computer Games
               10 to Excite Students in Good Money Management,” which a member of my firm’s
               11 staff, at my direction, caused to be captured and converted to PDF from the URL
               12 https://www.prlog.org/11194732-shon-brooks-launches-interactive-computer-
               13 games-to-excite-students-in-good-money-management.html on January 13, 2022.
               14        9.     Attached hereto as Exhibit 8 is a true and correct printout of the
               15 certificate of registration for the mark STOCK PICKER (U.S. Reg. No. 4,287,528),
               16 which a member of my firm’s staff, at my direction, retrieved from the United States
               17 Patent and Trademark Office’s (“USPTO”) online records on February 7, 2022.
               18        10.    Attached hereto as Exhibit 9 is a true and correct printout of an article
               19 dated July 1, 2012 entitled “The Financial Plans of Superheroes,” which a member
               20 of my firm’s staff, at my direction, caused to be captured and converted to PDF
               21 from the URL https://www.financial-planning.com/news/the-financial-plans-of-
               22 superheroes on January 13, 2022.
               23        11.    Attached hereto as Exhibit 10 is a true and correct printout of the
               24 certificate of registration for the mark SAVE ONE BANK (U.S. Reg. No.
               25 3,921,420), which a member of my firm’s staff, at my direction, retrieved from the
               26 United States Patent and Trademark Office’s (“USPTO”) online records on
               27 February 7, 2022.
  Mitchell     28
Silberberg &
 Knupp LLP
                                                    3          CASE NO. 3:21-CV-02003
                                       DECLARATION OF MARC E. MAYER
                1        12.    Attached hereto as Exhibit 11 is a true and correct printout of an article
                2 dated July 27, 2005 entitled “Sean and Emma most popular baby names again,”
                3 which a member of my firm’s staff, at my direction, caused to be captured and
                4 converted to PDF from the URL https://www.irishtimes.com/news/sean-and-emma-
                5 most-popular-baby-names-again-1.1180516 on January 13, 2022.
                6        13.    Attached hereto as Exhibit 12 is a true and correct printout of the
                7 Wikipedia page for “Brooks (surname),” which a member of my firm’s staff, at my
                8 direction, caused to be captured and converted to PDF from the URL
                9 https://en.wikipedia.org/wiki/Brooks_(surname) on January 13, 2022.
               10        14.    Attached hereto as Exhibit 13 is a true and correct printout of a page
               11 from Activision’s website entitled “Call of Duty Infinite Warfare,” which a member
               12 of my firm’s staff, at my direction, caused to be captured and converted to PDF
               13 from the URL https://www.activision.com/games/call-of-duty/call-of-duty-infinite-
               14 warfare on February 1, 2022.
               15        15.    Attached hereto as Exhibit 14 is a true and correct printout of the
               16 Wikipedia page for “Category: Video games set on Mars,” which a member of my
               17 firm’s staff, at my direction, caused to be captured and converted to PDF from the
               18 URL https://en.wikipedia.org/wiki/Category:Video_games_set_on_Mars on January
               19 13, 2022.
               20        16.    Attached hereto as Exhibit 15 is a true and correct printout of an article
               21 dated December 21, 2018 entitled “Shopping for the Apocalypse: Malls in Video
               22 Games, Then and Now,” which a member of my firm’s staff, at my direction, caused
               23 to be captured and converted to PDF from the URL
               24 https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-
               25 malls-in-video-games-then-and-now on January 13, 2022.
               26        17.    Attached hereto as Exhibit 16 is a true and correct printout of an article
               27 dated July 30, 2015 entitled “Know Your Genres: First-Person Shooters,” which a
  Mitchell     28 member of my firm’s staff, at my direction, caused to be captured and converted to
Silberberg &
 Knupp LLP
                                                    4          CASE NO. 3:21-CV-02003
                                       DECLARATION OF MARC E. MAYER
                1 PDF from the URL https://news.xbox.com/en-us/2015/07/30/games-know-your-
                2 genres-first-person-shooters/ on January 13, 2022.
                3         18.   Attached hereto as Exhibit 17 is a true and correct printout of an article
                4 dated December 16, 2016 entitled “The 10 Best Day/Night Cycles in Games,” which
                5 a member of my firm’s staff, at my direction, caused to be captured and converted to
                6 PDF from the URL https://www.pastemagazine.com/games/the-time/the-10-best-
                7 daynight-cycles-in-games/ on January 13, 2022.
                8         19.   Attached hereto as Exhibit 18 is a true and correct printout of an article
                9 dated April 22, 2021 entitled “Call of Duty Has Now Sold 400 Million Copies To
               10 Date,” which a member of my firm’s staff, at my direction, caused to be captured
               11 and converted to PDF from the URL https://www.gamespot.com/articles/call-of-
               12 duty-has-now-sold-400-million-copies-to-date/1100-6490462/ on February 1, 2022.
               13         20.   Attached hereto as Exhibit 19 is a true and correct printout of an article
               14 dated September 17, 2021 entitled “U.S. generals planning for a space war they see
               15 as all but inevitable,” which a member of my firm’s staff, at my direction, caused to
               16 be captured and converted to PDF from the URL https://spacenews.com/u-s-
               17 generals-planning-for-a-space-war-they-see-as-all-but-inevitable/ on February 1,
               18 2022.
               19         21.   Attached hereto as Exhibit 20 is a true and correct printout of an article
               20 dated October 19, 2020 entitled “Could outer space be the world’s next
               21 battleground,” which a member of my firm’s staff, at my direction, caused to be
               22 captured and converted to PDF from the URL https://broadview.org/weaponization-
               23 of-space/ on January 13, 2022.
               24         22.   Attached hereto as Exhibit 21 is a true and correct printout of an article
               25 dated November 27, 2018 entitled “Don’t let space become the next military
               26 battleground,” which a member of my firm’s staff, at my direction, caused to be
               27 captured and converted to PDF from the URL
  Mitchell     28
Silberberg &
 Knupp LLP
                                                    5          CASE NO. 3:21-CV-02003
                                       DECLARATION OF MARC E. MAYER
                1 https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-
                2 become-next-military-battleground/2127188002/ on February 1, 2022.
                3         23.   Attached hereto as Exhibit 22 is a true and correct printout of an article
                4 dated June 21, 2016 entitled “The Growing Risk of a War in Space,” which a
                5 member of my firm’s staff, at my direction, caused to be captured and converted to
                6 PDF from the URL
                7 https://www.theatlantic.com/technology/archive/2016/06/weaponizing-the-
                8 sky/488024/ on January 13, 2022.
                9         24.   Attached hereto as Exhibit 23 is a true and correct copy printout of
               10 page from the official United States Space Force website entitled “United States
               11 Space Force Mission,” which a member of my firm’s staff, at my direction, caused
               12 to be captured and converted to PDF from the URL
               13 https://www.spaceforce.mil/About-Us/About-Space-Force/Mission/ on January 13,
               14 2022.
               15         25.   Attached hereto as Exhibit 24 is a true and correct copy printout of an
               16 article dated March 31, 2016 entitled “Super Financial Agent Shon Brooks Hitting
               17 the Big Screen,” which a member of my firm’s staff, at my direction, caused to be
               18 captured and converted to PDF from the URL https://www.prnewswire.com/news-
               19 releases/super-financial-agent-shon-brooks-hitting-the-big-screen-300243812.html
               20 on February 8, 2022.
               21         26.   Attached hereto as Exhibit 25 is a true and correct copy printout of an
               22 article dated January 29, 2012 entitled “Shon Brooks Identified as ‘Game Changer’
               23 by Invention Magazine,” which a member of my firm’s staff, at my direction,
               24 caused to be captured and converted to PDF from the URL
               25 https://www.prlog.org/11784448-shon-brooks-identified-as-game-changer-by-
               26 invention-magazine.html on February 1, 2022.
               27         27.   Attached hereto as Exhibit 26 are true and correct printouts of January
  Mitchell     28 7, 2022 “tweets” by the Twitter account for “Shon Brooks,” which a member of my
Silberberg &
 Knupp LLP
                                                    6          CASE NO. 3:21-CV-02003
                                       DECLARATION OF MARC E. MAYER
               1 firm’s staff, at my direction, caused to be captured and converted to PDF from the
               2 URLs https://twitter.com/shonbrooks1/status/1479515093373095939 and
               3 https://twitter.com/shonbrooks1/status/1479514608314421251 on January 13, 2022.
               4
               5        I declare under penalty of perjury under the laws of the United States of
               6 America that the foregoing is true and correct.
               7
               8        Executed on this 8th day of February, 2022 at Calabasas, California.
               9
               10                                 /s/ Marc E. Mayer
                                                  Marc E. Mayer
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  Mitchell     28
Silberberg &
 Knupp LLP
                                                   7          CASE NO. 3:21-CV-02003
                                      DECLARATION OF MARC E. MAYER
               1       INDEX OF EXHIBITS TO DECLARATION OF MARC E. MAYER
               2    Exhibit
                              Description                                                Page No.
               3    No.
                        1     Retail copy of Activision’s Call of Duty: Infinite            10
               4              Warfare as made available for the Microsoft Xbox
               5              platform
                        2     Front and back cover of the packaging for the Xbox            11
               6              version of Call of Duty: Infinite Warfare
               7        3     Screen captures from Call of Duty: Infinite Warfare           15
               8        4     Video files reflecting game play from Call of Duty:           20
               9              Infinite Warfare
                        5     LinkedIn account for “Shon Brooks” of “Brooks                 21
               10             Financial & Entertainment Consultants Inc.”
               11       6     Twitter account for “Shon Brooks” “CEO of Brooks              26
                              Financial & Entertainment Consultants … ”
               12       7     Article dated January 4, 2011 entitled “Shon Brooks          238
               13             Launches Interactive Computer Games to Excite
                              Students in Good Money Management”
               14       8     Certificate of registration for the mark STOCK               243
               15             PICKER (U.S. Reg. No. 4,287,528)
                        9     Article dated July 1, 2012 entitled “The Financial Plans     245
               16             of Superheroes”
               17      10     Certificate of registration for the mark SAVE ONE            253
                              BANK (U.S. Reg. No. 3,921,420)
               18
                       11     Article dated July 27, 2005 entitled “Sean and Emma          256
               19             most popular baby names again”
                       12     Wikipedia page for “Brooks (surname)”                        261
               20
               21      13     Page from Activision’s website entitled “Call of Duty        277
                              Infinite Warfare”
               22      14     Wikipedia page for “Category: Video games set on             281
               23             Mars”
                       15     Article dated December 21, 2018 entitled “Shopping           285
               24
                              for the Apocalypse: Malls in Video Games, Then and
               25             Now”
                       16     Article dated July 30, 2015 entitled “Know Your              300
               26
                              Genres: First-Person Shooters”
               27      17     Article dated December 16, 2016 entitled “The 10 Best        324
                              Day/Night Cycles in Games”
  Mitchell     28
Silberberg &
 Knupp LLP
                                                 8          CASE NO. 3:21-CV-02003
                                    DECLARATION OF MARC E. MAYER
               1    Exhibit
                              Description                                               Page No.
               2    No.
                        18    Article dated April 22, 2021 entitled “Call of Duty Has     339
               3              Now Sold 400 Million Copies To Date”
               4       19     Article dated September 17, 2021 entitled “U.S.             343
                              generals planning for a space war they see as all but
               5              inevitable”
               6       20     Article dated October 19, 2020 entitled “Could outer        349
                              space be the world’s next battleground”
               7       21     Article dated November 27, 2018 entitled “Don’t let         378
               8              space become the next military battleground”
                       22     Article dated June 21, 2016 entitled “The Growing           387
               9              Risk of a War in Space”
               10      23     Page from the official United States Space Force            394
                              website entitled “United States Space Force Mission”
               11
                       24     Article dated March 31, 2016 entitled “Super Financial      397
               12             Agent Shon Brooks Hitting the Big Screen”
                       25     Article dated January 29, 2012 entitled “Shon Brooks        400
               13
                              Identified as ‘Game Changer’ by Invention Magazine”
               14      26     “Tweets” dated of January 7, 2022 by the Twitter            405
               15             account for “Shon Brooks”

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  Mitchell     28
Silberberg &
 Knupp LLP
                                                 9          CASE NO. 3:21-CV-02003
                                    DECLARATION OF MARC E. MAYER
EXHIBIT 1
(Physical exhibit being lodged with Court)




                                             Exhibit 1
                                              Page 10
EXHIBIT 2




            Exhibit 2
             Page 11
                              XBOX ONE

 INCLUDES



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                                                         Exhibit 2
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                       MXBOXONE



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DOLBY                                                     fnc. ACTIVISION, CALL OF DUTY, and CALL OF
DIGITAL                                                  DUTY INFINITE WARFARE are trademarks of
                                                        Activision Publishing, Inc. This product contains
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                                                        trademarks of Dolby Laboratories, The rating icon
                                                        is a registered trademark of the Entertainment
                                                        Software Association. 87861010US




          INFINITE WARFARE


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                                                                                                           Exhibit 2
                                                                                                            Page 13
                                CAMPAIGN




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                                                                                                                    Exhibit 2
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EXHIBIT 3




            Exhibit 3
             Page 15
Exhibit 3
 Page 16
Exhibit 3
 Page 17
Exhibit 3
 Page 18
Exhibit 3
 Page 19
EXHIBIT 4
(BEING LODGED WITH COURT ON USB FLASH DRIVE)




                                               Exhibit 4
                                                Page 20
EXHIBIT 5




            Exhibit 5
             Page 21
Document title:                  (36) Shon Brooks | LinkedIn

Capture URL:                     https://www.linkedin.com/in/shon-brooks-47a97025/

Page loaded at (UTC):            Thu, 13 Jan 2022 00:27:22 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:28:05 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      4

Capture ID:                      eab81268-edef-4362-99e1-ab95c27a5251

User:                            msk-general




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                                                                                     Exhibit 5
                                                                                      Page 22
Document title: (36) Shon Brooks | LinkedIn                      Exhibit 5
Capture URL: https://www.linkedin.com/in/shon-brooks-47a97025/
                                                                  Page 23
Capture timestamp (UTC): Thu, 13 Jan 2022 00:28:05 GMT                       Page 1 of 3
Document title: (36) Shon Brooks | LinkedIn                      Exhibit 5
Capture URL: https://www.linkedin.com/in/shon-brooks-47a97025/
                                                                  Page 24
Capture timestamp (UTC): Thu, 13 Jan 2022 00:28:05 GMT                       Page 2 of 3
Document title: (36) Shon Brooks | LinkedIn                      Exhibit 5
Capture URL: https://www.linkedin.com/in/shon-brooks-47a97025/
                                                                  Page 25
Capture timestamp (UTC): Thu, 13 Jan 2022 00:28:05 GMT                       Page 3 of 3
EXHIBIT 6




            Exhibit 6
             Page 26
Document title:                  (1) Shon Brooks (@shonbrooks1) / Twitter

Capture URL:                     https://twitter.com/shonbrooks1

Page loaded at (UTC):            Thu, 13 Jan 2022 00:03:48 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:18:48 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      211

Capture ID:                      d00ab7a0-7aa3-49a6-a3cd-8defc1c3baa3

User:                            msk-general




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                                                                                    Exhibit 6
                                                                                     Page 27
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 28
Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 1 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 29
Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 2 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 3 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 31
Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 4 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 5 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 33
Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 6 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 34
Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 7 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 8 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 9 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 10 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 38
Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 11 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 12 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 14 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 42
Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 15 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 16 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 45
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
                                                            Page 46
Capture timestamp (UTC): Thu, 13 Jan 2022 00:18:48 GMT                 Page 19 of 210
Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
Capture URL: https://twitter.com/shonbrooks1
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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Document title: (1) Shon Brooks (@shonbrooks1) / Twitter   Exhibit 6
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EXHIBIT 7




            Exhibit 7
            Page 238
Document title:                  Shon Brooks Launches Interactive Computer Games to Excite Students in Good
                                 Money Management -- Michael Dabney, Brooks Financial | PRLog

Capture URL:                     https://www.prlog.org/11194732-shon-brooks-launches-interactive-computer-games-
                                 to-excite-students-in-good-money-management.html

Page loaded at (UTC):            Thu, 13 Jan 2022 00:00:56 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:01:57 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      4

Capture ID:                      810afd44-662f-4c2c-9893-97c14b5588fe

User:                            msk-general




                        PDF REFERENCE #:           nutqGX2vHduWFRaN3T3F3Y
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Document title: Shon Brooks Launches Interactive Computer Games to Excite Students in Good Money Management -- Michael Dabney, Exhibit     7 | PRLog
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Capture URL: https://www.prlog.org/11194732-shon-brooks-launches-interactive-computer-games-to-excite-students-in-good-money-management.html
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:01:57 GMT                                                                                           Page 1 of 3
Document title: Shon Brooks Launches Interactive Computer Games to Excite Students in Good Money Management -- Michael Dabney, Exhibit     7 | PRLog
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Capture URL: https://www.prlog.org/11194732-shon-brooks-launches-interactive-computer-games-to-excite-students-in-good-money-management.html
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Document title: Shon Brooks Launches Interactive Computer Games to Excite Students in Good Money Management -- Michael Dabney, Exhibit     7 | PRLog
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:01:57 GMT                                                                                           Page 3 of 3
EXHIBIT 8




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EXHIBIT 9




            Exhibit 9
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Document title:                  The Financial Plans of Superheroes | Financial Planning

Capture URL:                     https://www.financial-planning.com/news/the-financial-plans-of-superheroes

Page loaded at (UTC):            Thu, 13 Jan 2022 00:00:56 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:02:52 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      7

Capture ID:                      b7752a97-6de5-4e07-9137-1cd381817ba3

User:                            msk-general




                        PDF REFERENCE #:            jqKtk9Ktwzb5H8RZDdhWRU
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Document title: The Financial Plans of Superheroes | Financial Planning                   Exhibit 9
Capture URL: https://www.financial-planning.com/news/the-financial-plans-of-superheroes
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:02:52 GMT                                                Page 1 of 6
Document title: The Financial Plans of Superheroes | Financial Planning                   Exhibit 9
Capture URL: https://www.financial-planning.com/news/the-financial-plans-of-superheroes
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:02:52 GMT                                                Page 2 of 6
Document title: The Financial Plans of Superheroes | Financial Planning                   Exhibit 9
Capture URL: https://www.financial-planning.com/news/the-financial-plans-of-superheroes
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:02:52 GMT                                                Page 3 of 6
Document title: The Financial Plans of Superheroes | Financial Planning                   Exhibit 9
Capture URL: https://www.financial-planning.com/news/the-financial-plans-of-superheroes
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:02:52 GMT                                                Page 4 of 6
Document title: The Financial Plans of Superheroes | Financial Planning                   Exhibit 9
Capture URL: https://www.financial-planning.com/news/the-financial-plans-of-superheroes
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:02:52 GMT                                                Page 5 of 6
Document title: The Financial Plans of Superheroes | Financial Planning                   Exhibit 9
Capture URL: https://www.financial-planning.com/news/the-financial-plans-of-superheroes
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EXHIBIT 11




             Exhibit 11
              Page 256
Document title:                  Sean and Emma most popular baby names again

Capture URL:                     https://www.irishtimes.com/news/sean-and-emma-most-popular-baby-names-
                                 again-1.1180516

Page loaded at (UTC):            Thu, 13 Jan 2022 00:28:24 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:29:46 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      4

Capture ID:                      639843e1-6ab5-4cbf-84e2-89157027838a

User:                            msk-general




                        PDF REFERENCE #:           qdF84ZsWyWF95MaoxYzvUA
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Document title: Sean and Emma most popular baby names again                                          Exhibit 11
Capture URL: https://www.irishtimes.com/news/sean-and-emma-most-popular-baby-names-again-1.1180516
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:29:46 GMT                                                            Page 1 of 3
Document title: Sean and Emma most popular baby names again                                          Exhibit 11
Capture URL: https://www.irishtimes.com/news/sean-and-emma-most-popular-baby-names-again-1.1180516
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Document title: Sean and Emma most popular baby names again                                          Exhibit 11
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:29:46 GMT                                                            Page 3 of 3
EXHIBIT 12




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Document title:                  Brooks (surname) - Wikipedia

Capture URL:                     https://en.wikipedia.org/wiki/Brooks_(surname)

Page loaded at (UTC):            Thu, 13 Jan 2022 00:31:39 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:32:32 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      15

Capture ID:                      f011b5ed-1cfd-48fd-b7b1-5da09a99e953

User:                            msk-general




                        PDF REFERENCE #:            3cQgQ5bnDj49Eyz2H1vCaT
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Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 1 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
                                                               Page 264
Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 2 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 3 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
                                                               Page 266
Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 4 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 5 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 6 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 7 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 8 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 9 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 10 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 11 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 12 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 13 of 14
Document title: Brooks (surname) - Wikipedia                  Exhibit 12
Capture URL: https://en.wikipedia.org/wiki/Brooks_(surname)
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:32:32 GMT                     Page 14 of 14
EXHIBIT 13




             Exhibit 13
              Page 277
Document title:                  Call of Duty®: Infinite Warfare

Capture URL:                     https://www.activision.com/games/call-of-duty/call-of-duty-infinite-warfare

Page loaded at (UTC):            Tue, 01 Feb 2022 19:36:10 GMT

Capture timestamp (UTC):         Tue, 01 Feb 2022 19:36:57 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      3

Capture ID:                      e930311b-a665-4fe8-b203-ccb83612f599

User:                            msk-general




                        PDF REFERENCE #:             5bFf6vdLuawgXRA6FVxkha
                                                                                                       Exhibit 13
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Document title: Call of Duty®: Infinite Warfare                                            Exhibit 13
Capture URL: https://www.activision.com/games/call-of-duty/call-of-duty-infinite-warfare
                                                                                            Page 279
Capture timestamp (UTC): Tue, 01 Feb 2022 19:36:57 GMT                                                  Page 1 of 2
Document title: Call of Duty®: Infinite Warfare                                            Exhibit 13
Capture URL: https://www.activision.com/games/call-of-duty/call-of-duty-infinite-warfare
                                                                                            Page 280
Capture timestamp (UTC): Tue, 01 Feb 2022 19:36:57 GMT                                                  Page 2 of 2
EXHIBIT 14




             Exhibit 14
              Page 281
Document title:                  Category:Video games set on Mars - Wikipedia

Capture URL:                     https://en.wikipedia.org/wiki/Category:Video_games_set_on_Mars

Page loaded at (UTC):            Thu, 13 Jan 2022 00:32:54 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:33:12 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      3

Capture ID:                      4aa4a6c5-de42-4e49-a8f7-ccde5a625a8e

User:                            msk-general




                        PDF REFERENCE #:            tWVoWd7ASjqTf5b3bqXbt5
                                                                                                  Exhibit 14
                                                                                                   Page 282
Document title: Category:Video games set on Mars - Wikipedia                  Exhibit 14
Capture URL: https://en.wikipedia.org/wiki/Category:Video_games_set_on_Mars
                                                                               Page 283
Capture timestamp (UTC): Thu, 13 Jan 2022 00:33:12 GMT                                     Page 1 of 2
Document title: Category:Video games set on Mars - Wikipedia                  Exhibit 14
Capture URL: https://en.wikipedia.org/wiki/Category:Video_games_set_on_Mars
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:33:12 GMT                                     Page 2 of 2
EXHIBIT 15




             Exhibit 15
              Page 285
Document title:                  Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With
                                 Your Brain

Capture URL:                     https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-
                                 in-video-games-then-and-now

Page loaded at (UTC):            Thu, 13 Jan 2022 00:33:35 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:35:14 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      14

Capture ID:                      aa23845e-9cc1-4ff2-b653-1cd70449704d

User:                            msk-general




                        PDF REFERENCE #:            aU92yoLiuoSRAT3M4yC98T
                                                                                                  Exhibit 15
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:35:14 GMT                                                                                  Page 1 of 13
Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:35:14 GMT                                                                                  Page 2 of 13
Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:35:14 GMT                                                                                  Page 10 of 13
Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
Capture URL: https://gamewithyourbrain.com/blog/2018/12/21/shopping-for-the-apocalypse-malls-in-video-games-then-and-now
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
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Document title: Shopping for the Apocalypse: Malls in Video Games, Then and Now — Game With Your Brain                     Exhibit 15
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EXHIBIT 16




             Exhibit 16
              Page 300
Document title:                  Know Your Genres: Third-Person Shooters

Capture URL:                     https://news.xbox.com/en-us/2015/10/09/games-know-your-genres-third-person-
                                 shooters/

Page loaded at (UTC):            Thu, 13 Jan 2022 00:35:37 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:36:48 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      23

Capture ID:                      4dc568e9-0edc-46db-a149-004fdabf1cef

User:                            msk-general




                        PDF REFERENCE #:           ikWQgAg2Ff7TM1dRb56EWd
                                                                                                Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
Capture URL: https://news.xbox.com/en-us/2015/10/09/games-know-your-genres-third-person-shooters/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:36:48 GMT                                                           Page 1 of 22
Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
Capture URL: https://news.xbox.com/en-us/2015/10/09/games-know-your-genres-third-person-shooters/
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:36:48 GMT                                                           Page 12 of 22
Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
Capture URL: https://news.xbox.com/en-us/2015/10/09/games-know-your-genres-third-person-shooters/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:36:48 GMT                                                           Page 13 of 22
Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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                                                                                                     Page 315
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
Capture URL: https://news.xbox.com/en-us/2015/10/09/games-know-your-genres-third-person-shooters/
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
Capture URL: https://news.xbox.com/en-us/2015/10/09/games-know-your-genres-third-person-shooters/
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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                                                                                                     Page 318
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
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Document title: Know Your Genres: Third-Person Shooters                                             Exhibit 16
Capture URL: https://news.xbox.com/en-us/2015/10/09/games-know-your-genres-third-person-shooters/
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EXHIBIT 17




             Exhibit 17
              Page 324
Document title:                  The 10 Best Day/Night Cycles in Games - Paste

Capture URL:                     https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-
                                 games/#4-minecraft

Page loaded at (UTC):            Thu, 13 Jan 2022 00:37:10 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:38:02 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      14

Capture ID:                      07cd64dc-e785-4da9-bd25-4e805f75ecf7

User:                            msk-general




                        PDF REFERENCE #:            uepE9SwC8sABrMiQ5gXqji
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Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
                                                                                                               Page 326
Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 1 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 2 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 3 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 4 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 5 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 7 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 8 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
                                                                                                               Page 335
Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 10 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 11 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 12 of 13
Document title: The 10 Best Day/Night Cycles in Games - Paste                                                 Exhibit 17
Capture URL: https://www.pastemagazine.com/games/the-time/the-10-best-daynight-cycles-in-games/#4-minecraft
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:38:02 GMT                                                                     Page 13 of 13
EXHIBIT 18




             Exhibit 18
              Page 339
Document title:                  Call Of Duty Has Now Sold 400 Million Copies To Date - GameSpot

Capture URL:                     https://www.gamespot.com/articles/call-of-duty-has-now-sold-400-million-copies-to-
                                 date/1100-6490462/

Page loaded at (UTC):            Tue, 01 Feb 2022 19:43:50 GMT

Capture timestamp (UTC):         Tue, 01 Feb 2022 19:44:11 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      3

Capture ID:                      1f582f76-2b6d-4c46-8eed-17b11ef1ab44

User:                            msk-general




                        PDF REFERENCE #:            7sRgH55TDdxE6yUxn14x6W
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Document title: Call Of Duty Has Now Sold 400 Million Copies To Date - GameSpot                                     Exhibit 18
Capture URL: https://www.gamespot.com/articles/call-of-duty-has-now-sold-400-million-copies-to-date/1100-6490462/
                                                                                                                     Page 341
Capture timestamp (UTC): Tue, 01 Feb 2022 19:44:11 GMT                                                                           Page 1 of 2
Document title: Call Of Duty Has Now Sold 400 Million Copies To Date - GameSpot                                     Exhibit 18
Capture URL: https://www.gamespot.com/articles/call-of-duty-has-now-sold-400-million-copies-to-date/1100-6490462/
                                                                                                                     Page 342
Capture timestamp (UTC): Tue, 01 Feb 2022 19:44:11 GMT                                                                           Page 2 of 2
EXHIBIT 19




             Exhibit 19
              Page 343
Document title:                  U.S. generals planning for a space war they see as all but inevitable - SpaceNews

Capture URL:                     https://spacenews.com/u-s-generals-planning-for-a-space-war-they-see-as-all-but-
                                 inevitable/

Page loaded at (UTC):            Tue, 01 Feb 2022 19:44:50 GMT

Capture timestamp (UTC):         Tue, 01 Feb 2022 19:45:25 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      5

Capture ID:                      9238d48f-c8d0-4345-b42e-a380cc804e6f

User:                            msk-general




                        PDF REFERENCE #:            2faBfdGmeMYN1WscSMNRkV
                                                                                                    Exhibit 19
                                                                                                     Page 344
Document title: U.S. generals planning for a space war they see as all but inevitable - SpaceNews          Exhibit 19
Capture URL: https://spacenews.com/u-s-generals-planning-for-a-space-war-they-see-as-all-but-inevitable/
                                                                                                            Page 345
Capture timestamp (UTC): Tue, 01 Feb 2022 19:45:25 GMT                                                                  Page 1 of 4
Document title: U.S. generals planning for a space war they see as all but inevitable - SpaceNews          Exhibit 19
Capture URL: https://spacenews.com/u-s-generals-planning-for-a-space-war-they-see-as-all-but-inevitable/
                                                                                                            Page 346
Capture timestamp (UTC): Tue, 01 Feb 2022 19:45:25 GMT                                                                  Page 2 of 4
Document title: U.S. generals planning for a space war they see as all but inevitable - SpaceNews          Exhibit 19
Capture URL: https://spacenews.com/u-s-generals-planning-for-a-space-war-they-see-as-all-but-inevitable/
                                                                                                            Page 347
Capture timestamp (UTC): Tue, 01 Feb 2022 19:45:25 GMT                                                                  Page 3 of 4
Document title: U.S. generals planning for a space war they see as all but inevitable - SpaceNews          Exhibit 19
Capture URL: https://spacenews.com/u-s-generals-planning-for-a-space-war-they-see-as-all-but-inevitable/
                                                                                                            Page 348
Capture timestamp (UTC): Tue, 01 Feb 2022 19:45:25 GMT                                                                  Page 4 of 4
EXHIBIT 20




             Exhibit 20
              Page 349
Document title:                  Could outer space be the world's next battleground? | Broadview Magazine

Capture URL:                     https://broadview.org/weaponization-of-space/

Page loaded at (UTC):            Thu, 13 Jan 2022 00:38:25 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:39:41 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      28

Capture ID:                      212e5628-4ef1-4fcc-9e98-1b175e079048

User:                            msk-general




                        PDF REFERENCE #:            covsTGv1MCxEaasYCA6PJj
                                                                                                  Exhibit 20
                                                                                                   Page 350
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
                                                                                                Page 351
Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 1 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
                                                                                                Page 352
Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 2 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
                                                                                                Page 353
Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 3 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
                                                                                                Page 354
Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 4 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
                                                                                                Page 355
Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 5 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
                                                                                                Page 356
Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 6 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 7 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 8 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 9 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 10 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
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Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
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Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 13 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
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Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 19 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 20 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 22 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 23 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 24 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 25 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
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Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 26 of 27
Document title: Could outer space be the world&#39;s next battleground? | Broadview Magazine   Exhibit 20
Capture URL: https://broadview.org/weaponization-of-space/
                                                                                                Page 377
Capture timestamp (UTC): Thu, 13 Jan 2022 00:39:41 GMT                                                      Page 27 of 27
EXHIBIT 21




             Exhibit 21
              Page 378
Document title:                  Don't let space become the next military battleground

Capture URL:                     https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-
                                 become-next-military-battleground/2127188002/

Page loaded at (UTC):            Tue, 01 Feb 2022 19:47:02 GMT

Capture timestamp (UTC):         Tue, 01 Feb 2022 19:48:13 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      8

Capture ID:                      680df1b1-f0ab-473e-b7f5-ac46ef8b16e9

User:                            msk-general




                        PDF REFERENCE #:             riz6REdAW7qZvogcAzJvbC
                                                                                                  Exhibit 21
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Document title: Don&#39;t let space become the next military battleground                                                        Exhibit 21
Capture URL: https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-become-next-military-battleground/2127188002/
                                                                                                                                   Page 380
Capture timestamp (UTC): Tue, 01 Feb 2022 19:48:13 GMT                                                                                        Page 1 of 7
Document title: Don&#39;t let space become the next military battleground                                                        Exhibit 21
Capture URL: https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-become-next-military-battleground/2127188002/
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Capture timestamp (UTC): Tue, 01 Feb 2022 19:48:13 GMT                                                                                        Page 2 of 7
Document title: Don&#39;t let space become the next military battleground                                                        Exhibit 21
Capture URL: https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-become-next-military-battleground/2127188002/
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Capture timestamp (UTC): Tue, 01 Feb 2022 19:48:13 GMT                                                                                        Page 3 of 7
Document title: Don&#39;t let space become the next military battleground                                                        Exhibit 21
Capture URL: https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-become-next-military-battleground/2127188002/
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Capture timestamp (UTC): Tue, 01 Feb 2022 19:48:13 GMT                                                                                        Page 4 of 7
Document title: Don&#39;t let space become the next military battleground                                                        Exhibit 21
Capture URL: https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-become-next-military-battleground/2127188002/
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Capture timestamp (UTC): Tue, 01 Feb 2022 19:48:13 GMT                                                                                        Page 5 of 7
Document title: Don&#39;t let space become the next military battleground                                                        Exhibit 21
Capture URL: https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-become-next-military-battleground/2127188002/
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Capture timestamp (UTC): Tue, 01 Feb 2022 19:48:13 GMT                                                                                        Page 6 of 7
Document title: Don&#39;t let space become the next military battleground                                                        Exhibit 21
Capture URL: https://www.delawareonline.com/story/opinion/readers/2018/11/27/dont-let-space-become-next-military-battleground/2127188002/
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Capture timestamp (UTC): Tue, 01 Feb 2022 19:48:13 GMT                                                                                        Page 7 of 7
EXHIBIT 22




             Exhibit 22
              Page 387
Document title:                  Weaponizing the Sky - The Atlantic

Capture URL:                     https://www.theatlantic.com/technology/archive/2016/06/weaponizing-the-
                                 sky/488024/

Page loaded at (UTC):            Thu, 13 Jan 2022 01:33:17 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 01:33:59 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      6

Capture ID:                      a07b61b9-2551-4ed0-bfd8-a4d8c11d8ce7

User:                            msk-general




                        PDF REFERENCE #:            cDK5sK9uTdeZouhHyZECNS
                                                                                                  Exhibit 22
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Document title: Weaponizing the Sky - The Atlantic                                                Exhibit 22
Capture URL: https://www.theatlantic.com/technology/archive/2016/06/weaponizing-the-sky/488024/
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Capture timestamp (UTC): Thu, 13 Jan 2022 01:33:59 GMT                                                         Page 1 of 5
Document title: Weaponizing the Sky - The Atlantic                                                Exhibit 22
Capture URL: https://www.theatlantic.com/technology/archive/2016/06/weaponizing-the-sky/488024/
                                                                                                   Page 390
Capture timestamp (UTC): Thu, 13 Jan 2022 01:33:59 GMT                                                         Page 2 of 5
Document title: Weaponizing the Sky - The Atlantic                                                Exhibit 22
Capture URL: https://www.theatlantic.com/technology/archive/2016/06/weaponizing-the-sky/488024/
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Capture timestamp (UTC): Thu, 13 Jan 2022 01:33:59 GMT                                                         Page 3 of 5
Document title: Weaponizing the Sky - The Atlantic                                                Exhibit 22
Capture URL: https://www.theatlantic.com/technology/archive/2016/06/weaponizing-the-sky/488024/
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Capture timestamp (UTC): Thu, 13 Jan 2022 01:33:59 GMT                                                         Page 4 of 5
Document title: Weaponizing the Sky - The Atlantic                                                Exhibit 22
Capture URL: https://www.theatlantic.com/technology/archive/2016/06/weaponizing-the-sky/488024/
                                                                                                   Page 393
Capture timestamp (UTC): Thu, 13 Jan 2022 01:33:59 GMT                                                         Page 5 of 5
EXHIBIT 23




             Exhibit 23
              Page 394
Document title:                  Mission

Capture URL:                     https://www.spaceforce.mil/About-Us/About-Space-Force/Mission/#skip-target

Page loaded at (UTC):            Thu, 13 Jan 2022 01:31:44 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 01:32:37 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      13036aac-6432-4a0f-a3e2-0040028a4181

User:                            msk-general




                        PDF REFERENCE #:            aczJ5epNNVk8fMF3gtVJDM
                                                                                                 Exhibit 23
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Document title: Mission                                                                   Exhibit 23
Capture URL: https://www.spaceforce.mil/About-Us/About-Space-Force/Mission/#skip-target
                                                                                           Page 396
Capture timestamp (UTC): Thu, 13 Jan 2022 01:32:37 GMT                                                 Page 1 of 1
EXHIBIT 24




             Exhibit 24
              Page 397
Document title:                  Super Financial Agent Shon Brooks Hitting the Big Screen

Capture URL:                     https://www.prnewswire.com/news-releases/super-financial-agent-shon-brooks-
                                 hitting-the-big-screen-300243812.html

Page loaded at (UTC):            Tue, 08 Feb 2022 01:34:35 GMT

Capture timestamp (UTC):         Tue, 08 Feb 2022 01:34:50 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      7f1636ef-85e4-4760-bf9c-05ce51182649

User:                            msk-general




                        PDF REFERENCE #:            n8mRyJQm1BRQ5YauUxbkGv
                                                                                                 Exhibit 24
                                                                                                  Page 398
Document title: Super Financial Agent Shon Brooks Hitting the Big Screen                                                        Exhibit 24
Capture URL: https://www.prnewswire.com/news-releases/super-financial-agent-shon-brooks-hitting-the-big-screen-300243812.html
                                                                                                                                 Page 399
Capture timestamp (UTC): Tue, 08 Feb 2022 01:34:50 GMT                                                                                       Page 1 of 1
EXHIBIT 25




             Exhibit 25
              Page 400
Document title:                  Shon Brooks Identified as ‘Game Changer’ by Invention Magazine -- Brooks
                                 Financial & Entertainment Consultants Inc. | PRLog

Capture URL:                     https://www.prlog.org/11784448-shon-brooks-identified-as-game-changer-by-
                                 invention-magazine.html

Page loaded at (UTC):            Tue, 01 Feb 2022 19:49:56 GMT

Capture timestamp (UTC):         Tue, 01 Feb 2022 19:50:18 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      4

Capture ID:                      ce26294f-d55d-4150-ad54-8ed3420d7cef

User:                            msk-general




                        PDF REFERENCE #:            rWWaCGoNw63Wp7c6KG6Lb2
                                                                                                 Exhibit 25
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Document title: Shon Brooks Identified as ‘Game Changer’ by Invention Magazine -- Brooks Financial &amp; Entertainment ConsultantsExhibit
                                                                                                                                  Inc. | PRLog25
Capture URL: https://www.prlog.org/11784448-shon-brooks-identified-as-game-changer-by-invention-magazine.html
                                                                                                                                   Page 402
Capture timestamp (UTC): Tue, 01 Feb 2022 19:50:18 GMT                                                                                             Page 1 of 3
Document title: Shon Brooks Identified as ‘Game Changer’ by Invention Magazine -- Brooks Financial &amp; Entertainment ConsultantsExhibit
                                                                                                                                  Inc. | PRLog25
Capture URL: https://www.prlog.org/11784448-shon-brooks-identified-as-game-changer-by-invention-magazine.html
                                                                                                                                   Page 403
Capture timestamp (UTC): Tue, 01 Feb 2022 19:50:18 GMT                                                                                             Page 2 of 3
Document title: Shon Brooks Identified as ‘Game Changer’ by Invention Magazine -- Brooks Financial &amp; Entertainment ConsultantsExhibit
                                                                                                                                  Inc. | PRLog25
Capture URL: https://www.prlog.org/11784448-shon-brooks-identified-as-game-changer-by-invention-magazine.html
                                                                                                                                   Page 404
Capture timestamp (UTC): Tue, 01 Feb 2022 19:50:18 GMT                                                                                             Page 3 of 3
EXHIBIT 26




             Exhibit 26
              Page 405
Document title:                  (1) Shon Brooks on Twitter: "STARmeter REPORT: Thank you to all my fans in every
                                 country for an ^ increase of 49,073 web traffic searches this week https://t.co/
                                 wEzkjXubdJ #TheNumbersAreTheNumbers #IMDBratings #Broadcast #Hits
                                 #BrooksFinancialAndEntertainmentConsultants #Billboar…https://t.co/
                                 BXnePdhN1h" / Twitter

Capture URL:                     https://twitter.com/shonbrooks1/status/1479515093373095939

Page loaded at (UTC):            Thu, 13 Jan 2022 00:22:10 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:22:46 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      aab5ca80-c4dd-46a3-8faa-701b1776426d

User:                            msk-general




                        PDF REFERENCE #:           wK1ifPDPBpN1G3yXAxpbfg
                                                                                                Exhibit 26
                                                                                                 Page 406
                                                                                                                                   Exhibit
Document title: (1) Shon Brooks on Twitter: &quot;STARmeter REPORT: Thank you to all my fans in every country for an ^ increase of 49,073      26 searches this…
                                                                                                                                          web traffic
Capture URL: https://twitter.com/shonbrooks1/status/1479515093373095939
                                                                                                                                    Page 407
Capture timestamp (UTC): Thu, 13 Jan 2022 00:22:46 GMT                                                                                                 Page 1 of 1
Document title:                  (1) Shon Brooks on Twitter: "THANK YOU: Brooks Entertainment Inc. Legal Team
                                 https://t.co/zPq2a2RvgM , #Shon #ShonBrooks #SOB #SOBTV
                                 #brooksentertainment #BrooksFinancialAndEntertainmentConsultants #IMDB
                                 #BoxOffice #HollywoodNews #IndustryNews #BrooksF…https://t.co/VGczKFYMWJ
                                 https://t.co/wEzkjXubdJ" / Twitter

Capture URL:                     https://twitter.com/shonbrooks1/status/1479514608314421251

Page loaded at (UTC):            Thu, 13 Jan 2022 00:23:07 GMT

Capture timestamp (UTC):         Thu, 13 Jan 2022 00:23:43 GMT

Capture tool:                    v7.13.2

Collection server IP:            3.90.170.83

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      2

Capture ID:                      90093102-7e82-4ec2-9639-aeb2c85993fa

User:                            msk-general




                        PDF REFERENCE #:           awHLwJkouA4Qp1XvH9uAFB
                                                                                               Exhibit 26
                                                                                                Page 408
                                                                                                                                Exhibit
Document title: (1) Shon Brooks on Twitter: &quot;THANK YOU: Brooks Entertainment Inc. Legal Team https://t.co/zPq2a2RvgM , #Shon         26 #SOB #SOBTV…
                                                                                                                                  #ShonBrooks
Capture URL: https://twitter.com/shonbrooks1/status/1479514608314421251
                                                                                                                                 Page 409
Capture timestamp (UTC): Thu, 13 Jan 2022 00:23:43 GMT                                                                                             Page 1 of 1
